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 DAVID B. GOLUBCHIK (SBN 185520)
 LINDSEY L. SMITH (SBN 265401)                                                  FOR COURT USE ONLY
 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
 2818 La Cienega Avenue
 Los Angeles, CA 90034
 Telephone: (310) 229-1234
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 Email: dbg@lnbyg.com, lls@lnbyg.com

 Proposed Attorneys for Chapter 11 Debtor and Debtor in
 Possession


                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                     LOS ANGELES DIVISION

 In re:
                                                                                Case No.: 2:22-bk-11910-BR
   TARINA TARANTINO MANAGEMENT, LLC,
                                                                                Chapter 11 Case

             Debtor and Debtor in Possession,
                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE:

                                                                                EX PARTE APPLICATION AND SETTING A
                                                                                HEARING ON SHORTENED TIME TO CONSIDER:
                                                                                1.    DEBTOR’S MOTION FOR ENTRY OF AN
                                                                                ORDER AUTHORIZING DEBTOR TO USE CASH
                                                                                COLLATERAL; AND
                                                                                2.    MOTION FOR ENTRY OF AN ORDER
                                                                                SETTING THE AMOUNT OF, AND AUTHORIZING
                                                                                DEBTOR TO PROVIDE, ADEQUATE ASSURANCE
                                                                                OF FUTURE PAYMENT TO UTILITY COMPANIES
                                                                                PURSUANT TO 11 U.S.C. § 366




        PLEASE TAKE NOTE that the order titled ORDER APPROVING EX PARTE APPLICATION AND SETTING A
HEARING ON SHORTENED TIME TO CONSIDER: 1. DEBTOR’S MOTION FOR ENTRY OF AN ORDER
AUTHORIZING DEBTOR TO USE CASH COLLATERAL; AND 2. MOTION FOR ENTRY OF AN ORDER SETTING THE
AMOUNT OF, AND AUTHORIZING DEBTOR TO PROVIDE, ADEQUATE ASSURANCE OF FUTURE PAYMENT TO
UTILITY COMPANIES PURSUANT TO 11 U.S.C. § 366 was lodged on April 18, 2022 and is attached. This order relates
to the motion which is docket number 23




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 December 2012                                                           Page 1
                                                                                             F 9021-1.2.BK.NOTICE.LODGMENT
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  1   DAVID B. GOLUBCHIK (SBN 185520)
      LINDSEY L. SMITH (SBN 265401)
  2   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, CA 90034
  4   Telephone: (310) 229-1234
      Fax: (310) 229-1244
  5   Email: dbg@lnbyg.com, lls@lnbyg.com
  6   Proposed Attorneys for Chapter 11 Debtor and Debtor in Possession
  7

  8                          UNITED STATES BANKRUPTCY COURT

  9                           CENTRAL DISTRICT OF CALIFORNIA
10                                    LOS ANGELES DIVISION
11
      In re:                                           )   Case No.: 2:22-bk-11910-BR
12                                                     )
        TARINA TARANTINO MANAGEMENT,                   )   Chapter 11 Case
13                                                     )
        LLC,                                           )
                                                       )   ORDER APPROVING EX PARTE
14                                                         APPLICATION AND SETTING A
                                                       )
15              Debtor and Debtor in Possession,       )   HEARING ON SHORTENED TIME TO
                                                       )   CONSIDER:
16                                                     )   1. DEBTOR’S MOTION FOR ENTRY
                                                       )      OF AN ORDER AUTHORIZING
17                                                     )
                                                       )      DEBTOR       TO    USE   CASH
                                                       )      COLLATERAL; AND
18                                                         2. MOTION FOR ENTRY OF AN
                                                       )
19                                                     )      ORDER SETTING THE AMOUNT
                                                       )      OF, AND AUTHORIZING DEBTOR
20                                                     )      TO       PROVIDE,    ADEQUATE
                                                       )
                                                       )      ASSURANCE        OF    FUTURE
21                                                            PAYMENT         TO     UTILITY
                                                       )
                                                       )      COMPANIES PURSUANT TO 11
22
                                                       )      U.S.C. § 366
23                                                     )
                                                       )   Hearing:
24                                                     )   DATE:
                                                       )
                                                       )   TIME:
25                                                         PLACE:     Courtroom 1668
                                                       )
                                                       )              255 East Temple Street
26
                                                       )              Los Angeles, CA 90012
27                                                     )

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  1          The Court, having read and considered the Ex Parte Application (“Ex Parte Application”)

  2   For A Hearing On Shortened Time To Consider (1) Debtor’s Motion For Entry Of An Order

  3   Authorizing Debtor To Use Cash Collateral (“Cash Collateral Motion”); and (2) Motion For

  4   Entry Of An Order Setting The Amount Of, And Authorizing Debtor To Provide, Adequate

  5   Assurance Of Future Payment To Utility Companies Pursuant To 11 U.S.C. § 366 (“Utility

  6   Motion” and collectively with Cash Collateral Motions, the “Motions”), filed by Tarina

  7   Tarantino Management, LLC, a California limited liability company (the “Debtor”), the debtor

  8   and debtor in possession in the above-captioned chapter 11 bankruptcy case, and good cause

  9   appearing, hereby ORDERS:

10           1.      The Ex Parte Application is approved.

11           2.      The Court shall hold a hearing to consider the Motions on _________, 2022 at

12    __:__ _.m. in the above-captioned Court.

13           3.      Any opposition to the Motions must be filed by _________ and served via NEF

14    and/or overnight mail upon the Office of the United States Trustee and proposed counsel for the

15    Debtor, whose name and address appear in the upper-left hand corner of this Order.

16           4.      Any reply to any opposition filed made be made orally at the hearing on the

17    Motions.

18           5.      The Debtor is required to serve notice of the hearing on the Motions and the

19    deadlines set forth herein by overnight mail by no later than ________, 2022 on the Office of the

20    United States Trustee, the Debtor’s secured creditors, the Debtor’s top 20 unsecured creditors

21    and the utility companies affected by the Utility Motion.

22           IT IS SO ORDERED.

23                                                   ###

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                                                      2
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 1
                                              PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2818
 3   La Cienega Avenue, Los Angeles, CA 90034.

 4   A true and correct copy of the foregoing document entitled NOTICE OF LODGMENT will be served or was served (a) on
     the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 6   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 18,
     2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
     persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 7
              David B Golubchik dbg@lnbyg.com, stephanie@lnbyb.com
 8
              Kenneth Hennesay khennesay@allenmatkins.com, ncampos@allenmatkins.com
              Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
 9
              Ron Maroko ron.maroko@usdoj.gov
10            Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
              United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
11   2. SERVED BY UNITED STATES MAIL: On April 18, 2022, I served the following persons and/or entities at the last
     known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
12   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
13
     None.
14                                                                                                Service information continued on attached page
15   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
     for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 18, 2022, I served the
16   following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
     such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
17   that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
     filed.
18
     Honorable Barry Russell
19   United States Bankruptcy Court
     Edward R. Roybal Federal Building and Courthouse
20   255 E. Temple Street, Suite 1660 / Courtroom 1668
     Los Angeles, CA 90012
21
                                                                           Service List served by Overnight Mail continued on attached page
22
23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

24    April 18, 2022                  Damon Woo                                         /s/ Damon Woo
      Date                            Type Name                                         Signature
25
26
27
28



      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Tarina Tarantino Management
File No. 9649
Secured, Top 20, OUST



Office of the United States Trustee     Secured Creditor                         Secured Creditor
Attn: Ron Maroko                        Los Angeles County Tax Collector         U.S. SBA
915 Wilshire Blvd., Suite 1850          P.O. Box 54018                           Office of Disaster Assistance
Los Angeles, CA 90017                   Los Angeles CA 90054-0018                14925 Kingsport Rd
                                                                                 Fort Worth TX 76155

Secured Creditor                        Secured Creditor                         Top 20
Wells Fargo Bank, NA, as Trustee        Argentic Services Company LP             Allen Matkins Leck Gamble Mallory &
c/o Michael B. Lubic of K&L Gates       c/o Michael Lubic of K&L Gates           Natsis LLP
10100 Santa Monica Bl, 8th Fl           10100 Santa Monica Bl., 8th Fl.          1900 Main St, 5th Floor
Los Angeles, CA 90067                   Los Angeles, CA 90067                    Irvine, CA 92614-7321

Top 20                                  Top 20                                   Top 20
Sheppard Mullin Richter & Hampton       Law Offices of Sheldon J. Fleming        CBRE
333 South Hope Street, 43rd             2030 Main St., Suite 1300                P.O. Box 740935
Los Angeles, CA 90071-1422              Irvine, CA 92614                         Location Code 2187
                                                                                 Los Angeles, CA 90074-0935

Top 20                                  Top 20                                   Top 20
Franchise Tax Board                     Continental Elevator Services, Inc.      Spectrum
Special Procedures                      4209 Verdant St.                         PO Box 60074
POB 2952                                Los Angeles, CA 90039                    City of Industry, CA 91716-0074
Sacramento, CA 95812

Top 20                                  Top 20                                   Top 20
Smith Mandel & Associates, LLP          LADWP                                    Carlsbad Certified Public Accountants
333 N.Glenoaks Blvd, Suite 201          P.O. Box 515407                          5741 Palmer Way, Suite A
Burbank, CA 91502                       Los Angeles, CA 90051-6707               Carlsbad, CA 92010


Top 20                                  Top 20
WR Heating and Cooling Inc.             U.S. SBA Office of Disaster Assistance
PO Box 670                              14925 Kingsport Rd
Anaheim, CA 92890                       Fort Worth, TX 76155
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Tarina Tarantino Mgmt             Nasa Services                    LA DWP
Utilities                         P.O Box 1755                     PO BOX 30808
9649                              Montebello, CA 90640             Los Angeles       CA 90030



Arsen Sarkisian                   Spectrum                         City of Los Angeles DWP
c/o Nasa Services Inc             PO BOX 60074                     111 N. Hope St
1100 S. Maple Ave.                City of Industry, CA 90015       Los Angeles, CA 90012
Montebello, CA 90640


LA DWP –                          Charter Commnications Inc.
Bankruptcy Unit                   Corporation Service Company
PO Box 51111                      2710 Gateway Oaks Dr Ste 150N
Los Angeles, CA 90051             Sacramento, CA 95833
